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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION


SYLVETTE MCKENZIE,

     Plaintiff,

v.                                                CASE NO. 3:18-cv-325-J-25JRK

PROFIT SERVICES GROUP LLC,

     Defendant.


                                        ORDER

      Pursuant to the Parties’ Stipulation (Dkt. 13), it is

      ORDERED that this case is DISMISSED with prejudice.

      DONE AND ORDERED at Jacksonville, Florida this 15th day of June, 2018.




Copies to: Counsel of Record
